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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

United States of America, et al.,

                                    Plaintiffs,
                                                        Case No. l:20-cv-03010-APM
 v.
                                                        HON. AMIT P. MEHTA
Google LLC,

                                Defendant.


State of Colorado, et al.,                              Case No. 1:20-cv-03715-APM

                                                        HON. AMIT P. MEHTA
                                    Plaintiffs,

v.

Google LLC,

                                    Defendant.



                             STIPULATED PROTECTIVE ORDER

                In the interests of (i) ensuring efficient and prompt resolution of these Actions;

(ii) facilitating discovery by the Parties litigating these Actions; and (iii) protecting confidential

information from improper disclosure or use, the Parties stipulate to the provisions set forth

below. The Court, upon good cause shown and pursuant to Fed. R. Civ. P. 26(c)(1), ORDERS

as follows:

A.       Definitions

        1. As used herein:

                (a) “Action” means the above-captioned actions pending in this Court, as

consolidated per the Court’s Order Granting in Part and Denying in Part Plaintiffs’ Motion to

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Consolidate, ECF No. 67 in Case No. 1:20-cv-03715-APM, including any related discovery,

pretrial, trial, post-trial, or appellate proceedings.

                (b) “Confidential Information” means any trade secret or other confidential

research, development, or commercial information, as such terms are used in Fed. R. Civ. P.

26(c)(1)(G), or any document, transcript, or other material containing such information that

has not been published or otherwise made publicly available.

                (c) “Competitive Decision-Making” means decision-making relating to a

competitor, potential competitor, customer, or distribution partner including decisions

regarding contracts, marketing, pricing, product or service development or design, product or

service offerings, research and development, mergers and acquisitions, or licensing,

acquisition, or enforcement of intellectual property rights.

                (d) “Defendant” means Google LLC, and its and their divisions, subsidiaries,

affiliates, partnerships and joint ventures, and all directors, officers, employees, agents

(including counsel), and representatives of the foregoing.

                (e) “Designated In-House Counsel” means two (2) In-House Counsel

designated by Defendant who are authorized to access Confidential Information pursuant to

Paragraph 12(d) or may be authorized to access Highly Confidential Information pursuant to

Paragraph 17 of this Order.

                (f) “Disclosed” means shown, divulged, revealed, produced,

described, transmitted or otherwise communicated, in whole or in part.

                (g) “Document” means any document or electronically stored information, as

the term is used in Fed. R. Civ. P. 34(a).

                (h) “Highly Confidential Information,” as defined herein, shall only include


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Information that, if disclosed to Defendant, is likely to cause material and significant

competitive or commercial harm.

      Highly Confidential Information is defined as trade secrets, including algorithms and

source code; non-public, commercially sensitive customer lists; non-public financial,

marketing, or strategic business planning information; current or future non-public

information regarding prices, costs, or margins; information relating to research,

development, testing of, or plans for existing or proposed future products; evaluation of the

strengths and vulnerabilities of a Protected Person’s product offerings, including non-public

pricing and cost information; confidential contractual terms, proposed contractual terms, or

negotiating positions (including internal deliberations about negotiating positions) taken with

respect to Defendant or competitors to Defendant; information relating to pending or

abandoned patent applications that have not been made available to the public; personnel

files; sensitive personally identifiable information; and communications that disclose any

Highly Confidential Information. If a Protected Person (i) has produced Investigation

Materials or (ii) is required by subpoena or court order to produce information that would

cause it material and significant competitive or commercial harm, but that information does

not specifically fall into one of the categories of information listed in this paragraph, upon a

compelling showing, it may seek a court order that such information is Highly Confidential

and should be withheld from In-House Counsel, including Designated In-House Counsel. If a

motion is made pursuant to this paragraph and is related to Investigation Materials, it must be

filed co-currently with its Highly Confidential Designations under Paragraph 3(a). If a

motion is made pursuant to this paragraph and is related to a subpoena or court order, it must

be filed no later than the due date to respond to the subpoena or court order. If a Protected



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Person seeks additional protection pursuant to this paragraph from the Court, the materials

for which additional protection has been sought will not be provided to other Persons, aside

from outside counsel, until the Court has ruled.

         Material that is more than three (3) years old at the time of production is

presumptively not entitled to protection as Highly Confidential Information but can be

Confidential Information if non-public; provided, that such material may be considered

Highly Confidential Information if it discloses current or future business practices or

competitive strategies. All protections under this Order to Confidential Information apply as

well to Highly Confidential Information.

                (i) “In-House Counsel” means any lawyer employed by Defendant.

                (j) “Investigation” means the pre-Complaint inquiry by Plaintiff and

Plaintiff States into potential anticompetitive conduct by Google.

                (k) “Investigation Materials” means non-privileged documents, testimony or

other materials that (i) any Non-Party provided to any Party, either voluntarily or under

compulsory process, relating to the Investigation; (ii) constitute any communication between

any Party and any Non-Party in connection with and during the Investigation; (iii) any Party

provided to any Non-Party relating to the Investigation; or (iv) Defendant, or affiliated person

or entity, provided to Plaintiffs relating to the Investigation.

                (l) “Litigation Materials” means non-privileged documents, testimony, or

other materials that (i) any Non-Party provides to any Party, either voluntarily or under

compulsory process, in connection with and during the pendency of this Action; (ii)

constitute any communication between any Party and any Non-Party in connection with and

during the pendency of this Action; (iii) Defendant provides to any Plaintiff in connection



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with and during the pendency of this Action; and/or (iv) any Plaintiff provides to Defendant

in connection with and during the pendency of this Action.

                (m) “Non-Party” means any natural person, partnership, corporation,

association, or other legal entity not named as a Party to this Action.

                (n) “Outside Counsel of Record” means the attorneys employed by outside

law firms representing Defendant in this proceeding.

                (o) “Party” means any Plaintiff, Plaintiff States, or Defendant in this

Action. “Parties” means collectively Plaintiffs, Plaintiff States, and Defendant in this

Action.

                (p) “Plaintiffs” means the U.S. Department of Justice and the Plaintiff States,

and all of their employees, agents, and representatives, including each state, commonwealth,

territory, and district that is a plaintiff in the action styled State of Colorado et al. v. Google

LLC, No. 1:20-cv-03715-APM.

                (q) “Plaintiff States” means the States of Arkansas, California, Florida,

Georgia, Indiana, Kentucky, Louisiana, Michigan, Mississippi, Missouri, Montana, South

Carolina, Texas, Wisconsin, and any other state that joins these consolidated actions,

including each state, territory, commonwealth, and district that is a plaintiff in the action

styled State of Colorado et al. v. Google LLC, No. 1:20-cv-03715-APM.

                (r) “Person” means any natural person, corporate entity, business

entity, partnership, association, joint venture, governmental entity, or trust.

                (s) “Protected Person” means any Person (including a Party) that either

voluntarily or under compulsory process, has provided or provides (i) Investigation

Materials in connection with the Investigation, or (ii) Litigation Materials.


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 B.       Designation of Highly Confidential Information and Confidential Information

         2. Within 5 business days of the Court’s entry of this Order, each Party shall send by

 email, facsimile, or overnight delivery a copy of this Order to each Non-Party Protected

 Person (or, if represented by counsel, the Non-Party Protected Person’s counsel) that

 provided Investigation Materials to that Party. This Order does not require the Plaintiffs in

 United States, et al. v. Google LLC to reissue notice of this Order to Non-Parties whom

 already have received notice of the Protective Order in that case.

         3. DESIGNATION OF INVESTIGATION MATERIALS AS HIGHLY

 CONFIDENTIAL BY PROTECTED PERSONS. A Protected Person may designate

 any Investigation Materials they produced as Highly Confidential pursuant to the

 following procedures:

                (a) A Protected Person shall have (60) sixty days after receiving a copy of

 this Order (the “Designation Period”) to designate as Highly Confidential Information any

Investigation Materials to the extent the Protected Person determines, in good faith, that the

Investigation Materials include Highly Confidential Information, and that such designation is

necessary to protect the interests of the Protected Person. Such Investigation Materials may be

so designated, if they have not already been designated, by providing written notice by

overnight mail or email to the party to which the Investigation Materials were produced that

includes (i) copies of the Investigation Materials stamped with the legend “HIGHLY

CONFIDENTIAL INFORMATION,” in a manner that will not interfere with legibility,

including page numbering, or audibility. Any document that contains Highly Confidential

Information may be designated Highly Confidential Information in its entirety.

                (b) Until the expiration of this Designation Period, all Investigation Materials


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will be treated as Highly Confidential Information in their entirety.

       Investigation Materials that are not designated as Highly Confidential by the end of

the expiration of this Designation Period shall be treated as Confidential Information for

purposes of this Order pursuant to the Antitrust Civil Process Act, or any other federal or state

statute or regulation, or under any federal or state court precedent interpreting such statute or

regulation, as well as any information that discloses the substance of the contents of any

Confidential Information derived from a document subject to this Order, and any information

taken from any portion of such material.

       The identity of a third party submitting such Highly Confidential Information or

Confidential Information shall also be treated as Highly Confidential Information or

Confidential Information for the purposes of this Order where the submitter has requested

such confidential treatment.

       4. If a Non-Party Protected Person believes that this Order does not adequately protect

its Highly Confidential Information or Confidential Information, it may, within 10 days after

receipt of a copy of this Order, seek additional protection from the Court for the Non-Party

Protected Person’s Highly Confidential Information or Confidential Information. If a Non-

Party Protected Person seeks additional protection from the Court, the Investigation Materials

for which additional protection has been sought will not be provided to other Persons, aside

from outside counsel, until the Court has ruled.

       5. Any production of documents or testimony not designated as Confidential or

Highly Confidential Information will not be deemed a waiver of any future claim of

confidentiality concerning such information if it is later designated as Confidential or Highly

Confidential Information. If at any time before trial of this Action, a Protected Person realizes


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that it should have designated as Confidential or Highly Confidential Information any

Investigation Materials or Litigation Materials that Person previously produced during

discovery in this Action, it may so designate such documents, testimony, or other materials by

notifying the Parties in writing. The Parties shall thereafter treat the Investigation Materials or

Litigation Materials pursuant to the Protected Person’s new designation under the terms of

this Order. However, the disclosure of any information for which disclosure was proper when

made will not be deemed improper regardless of any such subsequent confidentiality

designation.

       6. DESIGNATION OF LITIGATION MATERIALS AS HIGHLY CONFIDENTIAL

OR CONFIDENTIAL BY PROTECTED PERSONS. The following procedures govern the

process for Protected Persons to designate as Highly Confidential or Confidential any

information that they disclose in this Action after this Order is entered, including but not

limited to information in response to requests under Fed. R. Civ. P. 30, 31, 33, 36, and 45, and

documents disclosed in response to Fed. R. Civ. P. 33(d), 34(b)(2) and (c), or 45:

               (a) Testimony. All transcripts of depositions taken in this Action after entry of

this Order will be treated as Highly Confidential Information in their entirety for 30 days after

the date when a complete and final copy of the transcript has been made available to the

deponent (or the deponent’s counsel, if applicable). Within five business days of receipt of the

final transcript, the Party who noticed the deposition shall provide the final transcript to the

deponent. Within 30 days following receipt of the final transcript, the deponent may designate

as Highly Confidential Information any portion of the deposition transcript, by page(s) and

line(s), and any deposition exhibits provided by the deponent or the deponent’s employer. To

be effective, such designations must be provided in writing to Plaintiffs’ and Defendant’s


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counsel listed in Appendix C.

            Any portion of the transcript or exhibits not so designated pursuant to this

subparagraph 6(a) shall be treated as Confidential Information.

        When a Party is entitled under this Order to question a deponent about a document or

information that has been designated by a different Protected Person as Highly Confidential or

Confidential, the Party that asked such questions shall designate as confidential the portion of

the transcript relating to such Highly Confidential or Confidential document or information.

                  (b) Documents. A Protected Person who designates as Highly Confidential

Information any document that it produced in this Action must stamp or otherwise mark

each document containing said information with the designation “HIGHLY

CONFIDENTIAL” in a manner that will not interfere with legibility, including page

numbering, or audibility. A Protected Person who designates as Confidential Information

any document that it produced in this Action must stamp or otherwise mark each document

containing said information with the designation “CONFIDENTIAL” in a manner that will

not interfere with legibility, including page numbering, or audibility. Any document that

contains Confidential Information may be designated Confidential Information in its

entirety.

                   (c) Electronic Documents and Data. Where a Protected Person produces

electronic files and documents in native electronic format, such electronic files and documents

shall be designated by the Protected Person for protection under this Order by appending to the

file names or designators information indicating whether the file contains Highly Confidential

Information or Confidential Information, or by any other reasonable method for appropriately

designating such information produced in electronic format, including by making such


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designations in reasonably accessible metadata associated with the files. Where Highly

Confidential Information or Confidential Information is produced in electronic format on a disk

or other medium that contains exclusively Confidential Information, the “HIGHLY

CONFIDENTIAL” or “CONFIDENTIAL” designation may be placed on the disk or other

medium. When electronic files or documents in native form are printed for use at deposition, in

a court proceeding, or for provision in printed form to any person described in subparagraph

11(g), the Party printing the electronic files or documents shall affix a legend to the printed

document saying “HIGHLY CONFIDENTIAL” or “CONFIDENTIAL” and include the

production number and designation associated with the native file.

        7. DESIGNATION OF LITIGATION MATERIALS FROM NON-PARTIES. In

the event that a Party is required, by a valid discovery request, to produce a Non-Party’s

Highly Confidential Information or Confidential Information in its possession, then the

Party shall:

                (a) promptly notify in writing the Party seeking the Highly Confidential

Information or Confidential Information that some or all of the information requested is

subject to a confidentiality agreement with a Non-Party;

                (b) promptly notify the Non-Party that its Highly Confidential Information

or Confidential Information is being requested and make the information requested

available for inspection by the Non-Party; and

                (c) promptly provide the Non-Party with a copy of the Stipulated Protective

Order in this litigation, the relevant discovery request(s), and a reasonably specific description

of the information requested.

        8. If the Non-Party fails to object or seek a protective order from this Court within 14


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    days of receiving the notice and accompanying information, the Non-Party’s Highly

    Confidential Information or Confidential Information responsive to the discovery request may

    be produced. If the Non-Party timely seeks a protective order, its Highly Confidential

    Information or Confidential Information that is subject to the confidentiality agreement shall

    not be produced before a determination by the Court. 1 Absent an order to the contrary, the

    Non-Party shall bear the burden and expense of seeking protection in this Court of its Highly

    Confidential Information or Confidential Information. The terms of this Order are applicable

    to information produced by a Non-Party in this Action and designated as Highly Confidential

    Information or Confidential Information. Such information produced by Non-Parties in

    connection with this Action is protected by the remedies and relief provided by this Order.

    Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

    additional protections.

           9. UNAUTHORIZED DISCLOSURE OF CONFIDENTIAL OR HIGHLY

    CONFIDENTIAL INFORMATION. In the event of a disclosure of any Highly Confidential

    Information or Confidential Information to any person(s) not authorized to receive such

    disclosure under this Order, the Party responsible for having made such disclosure shall

    promptly notify the Protected Person whose material has been disclosed and provide to such

    Protected Person all known relevant information concerning the nature and circumstances of

    the disclosure. The disclosing Party shall also (a) promptly take all reasonable measures to

    retrieve the improperly disclosed material and to ensure that no further or greater unauthorized

    disclosure and/or use thereof is made; (b) inform the person or persons to whom unauthorized


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  The purpose of this provision is to alert the interested parties to the existence of confidentiality
rights of a Non-Party and to afford the Non-Party an opportunity to protect its confidentiality
interests in this Court.
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    disclosure were made of all the terms of this Order, and (c) request such person or persons

    execute the Agreement Concerning Confidentiality in the form of Appendix A attached

    hereto. Unauthorized or inadvertent disclosure shall not change the confidential status of any

    disclosed material or waive the right to maintain the disclosed material as containing Highly

    Confidential Information or Confidential Information. 2

    C.      Challenges to Highly Confidential or Confidential Designation

           10. Any Party who objects to any designation of confidentiality (the “Objecting

    Party”) may at any time before the trial of this Action provide a written notice to the Protected

    Person who made such designation (the “Designating Party”) and all Parties to this Action

    stating with particularity the grounds for the objection. All materials objected to shall continue

    to be treated as Confidential Information or Highly Confidential Information pending

    resolution of the dispute. Within ten (10) days of the Objecting Party’s written notice, the

    Objecting Party and the Designating Party shall attempt to confer to discuss their respective

    positions. If the Objecting Party and Designating Party cannot reach agreement on the

    objection within ten (10) days of the Objecting Party’s written notice (or another deadline

    agreed to by the Objecting Party and the Designating Party), the Objecting Party may address

    the dispute to this Court by filing a letter motion and/or motion in accordance with applicable

    rules. If the Court finds the designation of Highly Confidential Information or Confidential

    Information to have been inappropriate, the challenged designation shall be considered

    rescinded and the Objecting Party may seek attorneys’ fees and costs from the Designating

    Party as it relates to the resolution of any dispute if the Court determines that there was no

    good faith basis for the improper designation.



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    Disclosures under Fed. R. Evid. 502 are addressed in separate orders.
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D.      Disclosure of Highly Confidential Information or Confidential Information

        11. Highly Confidential Information may be disclosed only to the following persons:

                (a) the Court and all persons assisting the Court in this Action, including

law clerks, court reporters, and stenographic or clerical personnel;

                (b) U.S. Department of Justice attorneys and counsel for Plaintiff States,

paralegals and other professional personnel (including support and IT staff), and agents or

independent contractors retained by the Plaintiffs to assist in this Action whose functions

require access to the information;

                (c) Outside Counsel of Record for Defendant, including any attorneys (but not

In- House Counsel, including Designated In-House Counsel, for the Defendant), paralegals,

and other professional personnel (including support and IT staff) that such outside counsel

assigns to this Action whose functions require access to the information (but not any

employee of the Defendant);

                (d) outside vendors or service providers (such as copy-service providers,

outside court reporters retained for depositions, and document-management consultants)

retained by a

Party to assist that Party in this Action provided that they shall first execute an

Agreement Concerning Confidentiality in the form of Appendix A attached hereto;

                (e) any mediator, arbitrator, or special master that the Parties engage in

this Action or that this Court appoints;

                (f) persons who the Highly Confidential Information itself indicates, or who

the receiving party has a good-faith basis to believe, were the author, addressee, recipient,

custodian, or source of the document, to the extent they have previously had lawful access to


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the document disclosed or to be disclosed;

               (g) any person retained by a Party to serve as a testifying or consulting

expert in this Action, including employees of the firm with which the expert or consultant is

associated or independent contractors who assist the expert’s work in this Action, provided

that they shall first execute an Agreement Concerning Confidentiality in the form of

Appendix A attached hereto; and

               (h) outside trial consultants (including, but not limited to, graphics

consultants) provided that they shall first execute an Agreement Concerning Confidentiality

in the form of Appendix A attached hereto.

        12. Confidential Information may be disclosed only to the following persons:

               (a) the Court and all persons assisting the Court in this Action, including

law clerks, court reporters, and stenographic or clerical personnel;

               (b) U.S. Department of Justice attorneys and counsel for Plaintiff States,

paralegals and other professional personnel (including support and IT staff), and agents or

independent contractors retained by the Plaintiffs to assist in this Action whose functions

require access to the information;

               (c) Outside Counsel of Record for Defendant, including any attorneys (but not

In- House Counsel for the Defendant except as provided in paragraph 12(d) and subject to the

procedure in paragraphs 17 through 19), paralegals, and other professional personnel

(including support and IT staff) that such outside counsel assigns to this Action whose

functions require access to the information (but not any employee of the Defendant);

               (d) Designated In-House Counsel of Defendant with responsibilities for the

litigation of this Action who do not currently, and for a period of two years following the last


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occasion on which Confidential Information is disclosed to such Designated In-House

Counsel shall not (a) participate in or advise on Competitive Decision-Making at the

Defendant, (b) participate in or advise on Competitive Decision-Making involving a

Protected Person whose Confidential Information they accessed during the course of this

Action at any employer, or (c) participate in or advise on litigation or other legal actions on

behalf of Defendant or any other employer where a Protected Person is a party and whose

Confidential Information Designated In-House Counsel accessed in the course of this Action

for two years following the last occasion on which Confidential Information is disclosed to

such Designated In-House Counsel (aside from litigation arising from or related to the

allegations in the Complaint in this action); to

qualify for access under this subpart, in-house litigation counsel shall first execute an

Designated In-House Counsel Agreement Concerning Confidentiality in the form of

Appendix B attached hereto (which executed versions shall be maintained by Outside

Counsel for Defendant and available for inspection upon the request of the Court, any Party,

or any non-Party Protected Person) and only access Confidential Information in person at the

offices of Defendant’s Outside Counsel of Record, or using a secure electronic data room or

document review platform using an individual login identification and password. Defendant

shall promptly report any confirmed or

suspected unauthorized use or disclosure of Confidential Information to the Court and

Plaintiffs. Any counsel subject to this subsection who leaves the employment of Defendant to

work in an industry unrelated to the decisions associated with Competitive Decision-Making

shall be presumed to be exempt from the post-employment limits of this provision absent a

showing by Plaintiffs or any interested Protected Person that such a person engaged in


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Competitive Decision- Making.

               (e) outside vendors or service providers (such as copy-service providers,

outside court reporters retained for depositions, and document-management consultants)

retained by a Party to assist that Party in this Action provided that they shall first execute an

Agreement Concerning Confidentiality in the form of Appendix A attached hereto;

               (f) any mediator, arbitrator, or special master that the Parties engage in

this Action or that this Court appoints;

               (g) persons who the Confidential Information itself indicates, or who the

receiving party has a good-faith basis to believe, were the author, addressee, recipient,

custodian, or source of the document, to the extent they have previously had lawful access to

the document disclosed or to be disclosed; any current employee of a Party whose statements

or communications are quoted, recounted, or summarized in said Party’s document; or

persons for whom counsel for Plaintiffs or Defendant believes in good faith previously

received or had access to the document, unless the person indicates that he or she did not have

access to the document;

               (h) any person retained by a Party to serve as a testifying or consulting expert

in this Action, including employees of the firm with which the expert or consultant is associated

or independent contractors who assist the expert’s work in this Action, provided that they shall

first

execute an Agreement Concerning Confidentiality in the form of Appendix A attached

hereto; and

               (i) outside trial consultants (including, but not limited to, graphics

consultants) provided that they shall first execute an Agreement Concerning Confidentiality


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in the form of Appendix A attached hereto.

       13. Counsel for the Party making the disclosure must retain the original of the

Agreement Concerning Confidentiality in the form of Appendix A attached hereto for a period

of at least one year following the final resolution of this Action.

       14. Each individual described in Paragraphs 11 and 12 of this Order to whom

information designated as Highly Confidential Information or Confidential Information is

disclosed must not disclose that Highly Confidential Information or Confidential

Information to any other individual, except as provided in this Order.

       15. Nothing in this Order prevents Plaintiffs, subject to taking appropriate steps to

preserve the confidentiality of such information, from disclosing such information designated

as Highly Confidential Information or Confidential Information (i) in the course of any other

legal proceeding in which the U.S. Department of Justice or any of the Plaintiff States is a

party; (ii) for the purpose of securing compliance with a Final Judgment in this Action; or

(iii) for law enforcement purposes. Such disclosures shall be limited to disclosures within the

U.S. Department of Justice or the Plaintiff States, or communications among the Plaintiff

States and the U.S. Department of Justice.

       16. Nothing in this Order:

                (a) limits a Protected Person’s use or disclosure of its own

information designated as Highly Confidential Information or Confidential

Information;

                (b) prevents disclosure of Highly Confidential Information or Confidential

Information with the consent of the Protected Person that designated the material as

confidential;


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                (c) prevents disclosure by a Party of Highly Confidential Information or

 Confidential Information (i) that is or has become publicly known through no fault of that

 Party; (ii) lawfully acquired by or known to that Party independent of receipt during the

 Investigation or in discovery in this Action; (iii) previously produced, disclosed and/or

 provided to that Party without an obligation of confidentiality and not by inadvertence or

 mistake; or (iv) pursuant to an order of a court or as may be required by regulation; or

               (d) prevents Plaintiffs retention, use, or disclosure of Investigation

Materials outside the context of this Action to the extent permitted by applicable law or

regulation governing such pre-complaint discovery including the Hart-Scott-Rodino Act,

15 U.S.C. § 18a, and the Antitrust Civil Process Act, 15 U.S.C. §§ 1311-14, or for law

enforcement purposes, or as required by law, court order, or regulation. Any such

disclosures shall be limited to those permitted by applicable law or regulation, including,

in the case of materials obtained under the Antitrust Civil Process Act, 15 U.S.C. §

1313(d). Plaintiffs will not disclose any Litigation Material produced only during the

pendency of this Action to any Non-Party, except as ordered by a court or as may be

required by regulation and with seven (7) days written notice to Defendant or interested

Protected Person. If Investigation Materials or Litigation Materials are requested for

disclosure under a state’s public information act or the equivalent, this Order prohibits

disclosure to the extent the state’s public information act or the equivalent provides an

exception for disclosure of information protected by court order such as the Texas Public

Information Act, Texas Government Code § 552.107(2).

 E.       Disclosure of Highly Confidential Information to Designated In-House Counsel

 Based on Need


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        17. Defendant may at any time before the trial of this Action request disclosure of

Highly Confidential Information to Designated In-House Counsel by consent of the

Designating Party or motion with the Court. Defendant shall provide a written notice to the

Designating Party and all Parties to this Action stating with particularity the need for such

disclosure. Defendant must meet and confer with the Designating Party to try to resolve the

matter by agreement within 7 days of the written notice. If no agreement is reached,

Defendant may file a motion with the Court. Plaintiffs and/or the Designating Party will have

seven (7) days to respond to such motion. Defendant will not disclose any Highly

Confidential Information to its In-House Counsel, including Designated In-House Counsel,

pending resolution of the dispute. If the Court finds the Designated In-House Counsel has a

particularized need for access to the Highly Confidential Information that outweighs the risk

of harm to the Designating Party or the public interest, Defendant will be able to disclose the

Highly Confidential Information to its Designated In-House Counsel notwithstanding

paragraph 11.

F.      Challenges to In-House Counsel

        18. Unless otherwise ordered by the Court or agreed to in writing by the Protected

Person, before disclosing any information designated as Confidential Information to the

Defendant’s Designated In-house Counsel, Defendant must submit in writing to Plaintiffs and

the Protected Person a written statement that (1) sets forth the full name of the Designated

House Counsel and the city and state of his or her residence, and (2) describes the Designated

In-House Counsel’s past, current, and reasonably foreseeable future primary job duties and

responsibilities in sufficient detail to determine if Designated In-House Counsel is involved,

or may become involved, in any Competitive Decision-Making. If at any time, Defendant


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decides to replace a Designated In-House Counsel, Defendant must submit a written statement

regarding its proposed replacement Designated In-House Counsel pursuant to this paragraph

and follow the procedures described in Paragraphs 19 and 20.

       19. Defendant may disclose Confidential Information to its Designated In-House

Counsel unless the Defendant receives a written objection from Plaintiffs or any Protected

Person within 10 days of entry of this Stipulated Protective Order. If Defendant replaces any

of its Designated In-House Counsel pursuant to Paragraph 18, Defendant may disclose

Confidential Information to its Designated In-House Counsel unless the Defendant receives a

written objection from Plaintiffs or any Protected Person within 10 days of receiving the

Defendant’s written statement. Any objection to Designated In-House Counsel must set forth

in detail the grounds on which it is based.

       20. If Defendant receives a timely written objection it must meet and confer with the

Plaintiffs or any Protected Person to try to resolve the matter by agreement within seven (7)

days of the written objection. If no agreement is reached, Plaintiffs and any Protected Person

will then have seven (7) days to file a motion with the Court, objecting to Designated In-

House Counsel. Defendant will not disclose any Confidential Information (and at no point

may disclose Highly Confidential Information) to its In-House Counsel, including Designated

In-House Counsel, pending resolution of the dispute. If the Court finds the Designated In-

House Counsel to not be engaged in Competitive Decision-Making, Defendant will be able to

disclose Confidential Information to its Designated In-House Counsel in accordance with

paragraph 12.

G.     Use of Information Designated Highly Confidential or Confidential in This Action

       21. In the event that any Highly Confidential Information or Confidential Information


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is contained in any pleading, motion, exhibit or other paper filed or to be filed with the Court,

the Court shall be so informed by the Party filing such papers, and such papers shall be filed

under seal, in accordance with Local Rule 5.1(h). This Order hereby grants the Parties leave

to file such properly designated Highly Confidential Information or Confidential Information

under seal. To the extent that such material was originally submitted by a Non-Party, the

Party including the materials in its papers shall immediately notify the submitter of such

inclusion. Highly Confidential Information and Confidential Information contained in the

papers shall continue to be maintained under seal until further order of the Court, provided,

however, that such papers may be furnished to persons or entities who may receive Highly

Confidential Information or Confidential Information pursuant to Paragraphs 11 and 12.

Upon or after filing any paper containing Highly Confidential Information or Confidential

Information, the filing Party shall file on the public record a duplicate copy of the paper that

does not reveal Highly Confidential Information or Confidential Information. Further, if the

protection for any such material expires, a Party may file on the public record a duplicate

copy that also contains the formerly protected material. Nothing in this Order shall restrict the

Parties or any interested member of the public from challenging the filing of any Highly

Confidential Information or Confidential Information under seal.

       22. Parties shall give the other parties notice if they reasonably expect a

deposition, hearing, or other proceeding to include Highly Confidential Information or

Confidential Information so that the other parties can ensure that only authorized

individuals are present at those proceedings. The use of a document as an exhibit at a

deposition shall not in any way affect its designation as Highly Confidential Information

or Confidential Information.



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 H.     Use of Highly Confidential Information or Confidential Information at Trial

        23. Disclosure at trial or at any evidentiary hearing of any document, testimony, or

other material designated as Highly Confidential Information or Confidential Information

will be governed pursuant to a separate court order. Unless otherwise directed by the Court,

the Parties shall meet and confer and submit a recommended order outlining those procedures

no later than thirty (30) calendar days before the first day of trial or any evidentiary hearing.

Upon the filing of a proposed order governing the disclosure of Highly Confidential

Information or Confidential Information at trial or any evidentiary hearing, the Parties shall

provide notice of such order to third parties whose Highly Confidential Information or

Confidential Information is expected to be used at trial or any evidentiary hearing.

       24. Unless otherwise provided for in this Order, all Highly Confidential Information

and Confidential Information produced by a Party or a Non-Party as part of this Action shall

be used solely for the conduct of this Action and shall not be used for any business,

commercial, competitive, personal, or other purpose.

I.      Procedures upon Termination of This Action

       25. The obligations imposed by this Order survive the termination of this Action

unless the Court, which shall retain jurisdiction to resolve any disputes arising out of this

Order, orders otherwise. Within 90 days after the expiration of the time for appeal of an

order, judgment, or decree terminating this Action, all persons having received information

designated as Highly Confidential Information or Confidential Information must, to the

extent permitted by the states’ retention schedules, either make a good faith effort to return

such material and all copies thereof to the Protected Person (or the Protected Person’s

counsel if represented by counsel) that produced it, or destroy or delete all such Highly


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Confidential Information or Confidential Information and certify that fact in writing to the

Party or Protected Person.

         26. Counsel for the Parties will be entitled to retain court papers and exhibits, deposition

transcripts and exhibits, trial transcripts and exhibits, and work product, provided that the

Parties and their counsel do not disclose the portions of court papers and exhibits, deposition

transcripts and exhibits, trial transcripts and exhibits, or work product containing information

designated as Highly Confidential Information or Confidential Information to any person

except pursuant to court order or agreement with the Protected Person that produced the Highly

Confidential Information or Confidential Information or as otherwise permitted herein. All

Highly Confidential Information and Confidential Information returned to the Parties or their

counsel by the Court likewise must be disposed of in accordance with this paragraph. Nothing

in this paragraph, however, restricts the rights of the Parties under Paragraphs 15 or 16 of this

Order.

J.        Right to Seek Modification

         27. Nothing in this Order limits any Person, including members of the public, a Party,

or a Protected Person, from seeking (1) further or additional protections of any of its materials,

or

(2) modification of this Order upon motion duly made pursuant to the Rules of this

Court, including, without limitation, an order that certain material not be produced at all

or is not admissible evidence in this Action or any other proceeding.

K.        The Privacy Act

          28. Any order of this Court requiring the production of any document, information,

or transcript of testimony constitutes a court order within the meaning of the Privacy Act, 5

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 U.S.C.

 § 552a(b)(11).

 L.       Persons Bound by This Order

          29. This Order shall be binding on the Parties to this Action, their attorneys, and their

 successors, personal representatives, administrators, assigns, parents, subsidiaries, divisions,

 affiliates, employees, agents, retained consultants and experts, and any persons or

 organizations over which they have direct control.

          30. All persons subject to this Order are reminded that this order may be enforced by

 the Court’s full powers of criminal and civil contempt.

Dated this ___ day of _______________, 2021
                                                       SO ORDERED:
                                                       Amit P.          Digitally signed by
                                                                        Amit P. Mehta

                                                       Mehta            Date: 2021.01.21
                                                                        17:25:47 -05'00'

                                                       Honorable Amit P. Mehta
                                                       United States District Judge




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                                             APPENDIX A

                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA



United States of America, et al.,

                                    Plaintiffs,
                                                        Case No. l:20-cv-03010-APM
 v.
                                                        HON. AMIT P. MEHTA
Google LLC,

                                   Defendant.


State of Colorado, et al.,                              Case No. 1:20-cv-03715-APM

                                                        HON. AMIT P. MEHTA
                                    Plaintiffs,

v.

Google LLC,

                                    Defendant.


                                   AGREEMENT CONCERNING
                                      CONFIDENTIALITY

         I,             am employed by                 as ___________________.

         I thereby certify that:

      1. I have read the Protective Order entered in the above-captioned actions and

understand its terms.

      2. I agree to be bound by the terms of the Protective Order entered in the above-

captioned actions. I agree to use the information provided to me only as explicitly provided


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in this Protective Order.

   3. I understand that my failure to abide by the terms of the Protective Order entered in

the above-captioned actions will subject me without limitation, to civil and criminal

penalties for contempt of Court.

   4. I submit to the jurisdiction of the United States District Court for the District of

Columbia solely for the purpose of enforcing the terms of the Protective Order entered in

the above-captioned actions and freely and knowingly waive any right I may otherwise

have to object to the jurisdiction of said court.




                                          SIGNATURE


                                          DATE




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                                            APPENDIX B

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



United States of America, et al.,

                                    Plaintiffs,
                                                       Case No. l:20-cv-03010-APM
  v.
                                                       HON. AMIT P. MEHTA
Google LLC,

                                 Defendant.


 State of Colorado, et al.,                            Case No. 1:20-cv-03715-APM

                                                       HON. AMIT P. MEHTA
                                    Plaintiffs,

v.

Google LLC,

                                    Defendant.



                DESIGNATED IN-HOUSE LITIGATION COUNSEL AGREEMENT
                               CONCERNING CONFIDENTIALITY

 I, _________________ am employed as _______________ by _____________________.


Thereby I certify that:

       1. I have read the Protective Order entered in the above-captioned actions, and

 understand its terms.

       2. I agree to be bound by the terms of the Protective Order entered in the above-



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captioned action, agree that in my role as in-house litigation counsel for the above

Defendant company I meet the requirements of Paragraph 12(d) of this Protective Order,

and agree to use the information provided to me only as explicitly provided in this

Protective Order.

    3. I understand that my failure to abide by the terms of the Protective Order entered in

the above-captioned actions will subject me without limitation, to civil and criminal

penalties for contempt of Court.

    4. I submit to the jurisdiction of the United States District Court for the District of

Columbia solely for the purpose of enforcing the terms of the Protective Order entered in the

above-captioned actions and freely and knowingly waive any right I may otherwise have to

object to the jurisdiction of said Court.




                                                      SIGNATURE


                                                       DATE




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                                           APPENDIX C

Case No. l:20-cv-03010-APM

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